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F\u»;o ww§é£§....o.o.

m inc UNrrED sTA'rEs nimch coUR"r , _
FOR mn wEs'I'.ERN ms'rmc'r oF TENNESSEE 1335 Jm- 13 P"‘ 2‘ 22
_wEsTERN omsloN '

 

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dDHBHS-UHKJID§“;;)RT
'uNrrEn s'rAT.Es oF AMERICA, W OFTN M
I'ILAINTIFF,
V'S ` cn.No. g 393 cg ggmh._o\

$h£_\iilciL&_.§d.mo£d>

1 . " §§ 3 §
DLFEND.ANTS. _ c § §
. _ QQ§_»E _J __

MoTIoN REQUESTING NEW coUNsEL ` §§

 

  

 

Comes_ now Shgmwbefendant in this cause and oves this k

Honorablc Court to appoint new counsel to represent Defendant, w in the
above cause and for grounds would show unto the court the following

l. That counsel was appointed by the Court to represent Dcfcndant,

 

2. That since the appointment of ,MQLEM_§MQ_D_ to represent

Defendant. Dcfendant has met wiih 'Counsel on _LL_ instances to discuss
the case Counsel has not provided Defendant with discovery on his case
since the appointment Q\lor has Counsel provided Defendant with a copy
of the charging instrument to place defendant on notice of exectly what he

is being charged with>

  
 

Thls document entered on the dockets
with Flule 55 and/or 32{b) FFlCrP on

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3. Defendant has provided Counsel with information regarding the
_ investigation and preparation of this cause Counsel has not-responded to

any of the matters-referred to him by ljefendant.

4. Defendant is unable to communicate with Cormsel as an impasse has been
reached Ccunsel is not sewing defendant’s best interest

WHEREF()RE M()VANT PRAYS that this Honorable Court to appoint new

` counsel to represent him in the matter before the court or conduct a hearing to determine

if counsel should be replaced with new counsel

Respectfully Submitted,

ge w .| m ,

De't`endant

CER\` I T SEVI

l hereby certify that a copy of this foregoing Motion was forward by first class
mail to the Assistant Unitcd States Attorney for the Western District of Tennessee

theme (, day of §§`,.1.,` .Aooi l

Defendant

   

UNITED S`TATE DRISTIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 95 m
case 2:03-CR-20316 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed

 

 

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Honorable Bernice Donald
US DISTRICT COURT

